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                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NEW YORK


                           DEFENDANT’S EXHIBIT LIST


CASE NO:    15-CR-10-RJA                                    ( ) Plaintiff
DATE:       January 18, 2018                                ( X) Defendant


                      UNITED STATES v. CHARLES WEBER
                               COMPETENCY HEARING
                                                                     DATE

Exhibit                  DESCRIPTION                       Marked for     In Evidence
Letter                                                     Identification
    1      Curriculum Vitae of Natasha Cervantes
    2      Forensic Evaluation by Ana Natasha
           Cervantes, M.D. and Melissa D. Heffler, M.D.,
           dated October 30, 2016
   3       Forensic Evaluation Addendum by Ana
           Natasha Cervantes, M.D., dated November 2,
           2017
   4       Audio Recording of #NotMyLaws: The
           Sovereign Citizen in Jail and Court, American
           Academy of Psychiatry and the Law, Annual
           Meeting, October 29, 2017
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